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                                         EXHIBIT 3
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 ·1· · · · · · · · UNITED STATES BANKRUPTCY COURT

 ·2· · · · · · · · · · · DISTRICT OF NEVADA

 ·3

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 · ·   ·In re:· · · · · · · · · · · · · · · · ·)
 ·6·   · · · · · · · · · · · · · · · · · · · · )
 · ·   · · ·INFINITY CAPITAL MANAGEMENT, INC.· )· · Case No.
 ·7·   · · · · · · · · · · · · · · · · · · · · )· 21-14486-abl
 · ·   · · · · · · · · · · · · ·Debtor.· · · · )· ·Chapter 7
 ·8·   ·_______________________________________)

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 14· · · · · · RULE 2004 EXAMINATION OF OLIVER HEMMERS

 15· · · · · · · · · · · · · ·Volume I

 16· · · · · · · · · ·[via web videoconference]

 17
 · ·   ·   ·   ·   ·   ·   ·Taken on Wednesday, November 10, 2021
 18·   ·   ·   ·   ·   ·   · · ·by a Certified Court Reporter
 · ·   ·   ·   ·   ·   ·   · · · · · · ·At 9:03 a.m.
 19·   ·   ·   ·   ·   ·   · · · ·Held in Las Vegas, Nevada

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 25· · · · · ·Reported by:· Ellen A. Goldstein, CCR 829



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 ·1· ·A P P E A R A N C E S (via web videoconference):

 ·2

 ·3· · · · ·For the Debtor INFINITY CAPITAL MANAGEMENT, INC.:

 ·4·   ·   ·   ·   ·   ·   ·   ·   ·   MATTHEW C. ZIRZOW, ESQ.
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   LARSON & ZIRZOW
 ·5·   ·   ·   ·   ·   ·   ·   ·   ·   850 East Bonneville Avenue
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   Las Vegas, Nevada· 89101
 ·6·   ·   ·   ·   ·   ·   ·   ·   ·   (702)382-1170
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   mzirzow@lzlawnv.com
 ·7
 · ·   · · · ·For HA SELECT - MEDICAL RECEIVABLES LITIGATION
 ·8·   · · · · · · · · FINANCE FUND INTERNATIONAL SP:

 ·9·   ·   ·   ·   ·   ·   ·   ·   ·   BART K. LARSEN, ESQ.
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   SHEA LARSEN
 10·   ·   ·   ·   ·   ·   ·   ·   ·   1731 Village Center Circle
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   Suite 150
 11·   ·   ·   ·   ·   ·   ·   ·   ·   Las Vegas, Nevada· 89134
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   (702)471-7432
 12·   ·   ·   ·   ·   ·   ·   ·   ·   blarsen@shea.law

 13·   · · · · For TECUMSEH - INFINITY MEDICAL RECEIVABLES
 · ·   · · · · · · · · FUND, LP:
 14
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   MICHAEL D. NAPOLI, ESQ.
 15·   ·   ·   ·   ·   ·   ·   ·   ·   AKERMAN, LLP
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   2001 Ross Avenue
 16·   ·   ·   ·   ·   ·   ·   ·   ·   Suite 3600
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   Dallas, Texas· 75201
 17·   ·   ·   ·   ·   ·   ·   ·   ·   (214)720-4300
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   michael.napoli@akerman.com
 18
 · ·   · · · · For HEALTHPLUS IMAGING OF TEXAS, LLC:
 19
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   JACOB M. STEPHENS, ESQ.
 20·   ·   ·   ·   ·   ·   ·   ·   ·   IRELAN MC DANIEL
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   2520 Caroline Street
 21·   ·   ·   ·   ·   ·   ·   ·   ·   Second floor
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   Houston, Texas· 77004
 22·   ·   ·   ·   ·   ·   ·   ·   ·   (713)222-7666
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   jstephens@imtexaslaw.com
 23
 · ·   · · · · Also present:
 24
 · ·   · · · · · · · · Igor Shleypak, Mike Griffin, Debra
 25·   · · · · · · · · Griffin, James Gallagher, Christopher
 · ·   · · · · · · · · Stewart



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 ·1· · · · Q· · And I mean in general terms, what does
 ·2· ·this data -- the data shown here in the spreadsheet, what
 ·3· ·does it represent?
 ·4· · · · A· · Effectively all the fields that were related to
 ·5· ·a -- let's say an Invoice, let's say from an office visit
 ·6· ·or MRI or whatever we paid for, right, all the data in
 ·7· ·relation to that that was entered into the database.· The
 ·8· ·identifier that might be most useful is the Bill ID,
 ·9· ·which is the -- every data record for something that was
 10· ·paid for.
 11· · · · Q· · So it's my understanding that this represents
 12· ·all of the accounts that existed at the time the lending
 13· ·relationship began between the debtor and HASelect,
 14· ·together with all the accounts that were subsequently
 15· ·acquired by the debtor, with the exception of the
 16· ·separate Tecumseh accounts that aren't on here.· Is that
 17· ·correct?
 18· · · · A· · That's correct, HAS, yeah.· Everything except
 19· ·Tecumseh and the overlap, that's everything that was --
 20· ·is in the database copy that was from the date of the
 21· ·filing, yeah.
 22· · · · Q· · Just to clarify a few points here to make sure
 23· ·I understand what's represented in the spreadsheet, the
 24· ·Paid Date shown here in column DV, does that represent
 25· ·the date on which Infinity acquired the receivable?


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 ·1· · · · A· · Yeah, that's the date, yeah.
 ·2· · · · Q· · And Paycheck Number, that would be the Infinity
 ·3· ·check number that was used to pay for it?
 ·4· · · · A· · Yes.
 ·5· · · · Q· · Bill Cost, is that the actual cost to Infinity
 ·6· ·to acquire the receivable?
 ·7· · · · A· · It's a cost associated with that receivable,
 ·8· ·which is comprised of the payment to the provider, broker
 ·9· ·fees, overhead, and everything else that come with
 10· ·acquiring a receivable.
 11· · · · Q· · Broker fees paid to whom?
 12· · · · A· · To whoever we used as a broker at the time to
 13· ·acquire the receivable.· There were different entities
 14· ·involved and people.
 15· · · · Q· · And would Infinity have received any of those
 16· ·brokerage fees or were they all paid to third parties?
 17· · · · A· · Oh, no.· The broker fees is what Infinity had
 18· ·to pay to third parties.
 19· · · · Q· · And you mentioned overhead.· What does that
 20· ·comprise as far as these figures are concerned?
 21· · · · A· · Well, effectively Infinity needed money to
 22· ·process those receivables, and so there's a small
 23· ·percentage that goes towards operations.
 24· · · · Q· · So with respect to this first entry here, if I
 25· ·were to go back to 2015, find check No. 2605, that check


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 ·1· ·is the basis of the collateral for that batch, and once a
 ·2· ·loan for that batch is paid off, those receivables
 ·3· ·effectively revert back to Infinity.
 ·4· · · · Q· · So was it your understanding that once a
 ·5· ·particular draw was paid off, that HASelect's security
 ·6· ·interest in those receivables was terminated?
 ·7· · · · A· · According to the contract, as far as we
 ·8· ·understood it and as it was explained to us, once a batch
 ·9· ·is paid off, the collateral is available to Infinity to
 10· ·collect on.· That was the understanding.
 11· · · · Q· · But did you understand that notwithstanding
 12· ·Infinity's ability to collect on certain accounts, that
 13· ·those accounts remain subject to HASelect's security
 14· ·interest?
 15· · · · A· · Yes.· And the idea was to monetize those to
 16· ·further reduce the debt to HASelect, right, because
 17· ·collections were slow at this point; right?· So the debt
 18· ·kept increasing.· And so by selling them, that would have
 19· ·been a quicker way of reducing the debt to HASelect.
 20· · · · Q· · Did you ever approach HASelect about a
 21· ·possible sale of these accounts that you deemed to have
 22· ·been -- I don't want to say released; that wasn't the
 23· ·exact term that you used, but that related to draws that
 24· ·had been paid off?
 25· · · · A· · Not just that, but we discussed a year ago to


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 ·1· ·after the bankruptcy case was filed?
 ·2· · · · A· · Yeah.· They should be all part of the big
 ·3· ·spreadsheet that you showed me, the HAS spreadsheet.                             I
 ·4· ·would say all these are part of that.
 ·5· · · · Q· · Let's say since the beginning of 2019 up until
 ·6· ·the bankruptcy case filing date, did Infinity assign any
 ·7· ·interest or sell any interest in any receivable to any
 ·8· ·party other than HASelect or Tecumseh?
 ·9· · · · A· · No.· That's the only two entities.
 10· · · · Q· · Was there ever any discussion that you were
 11· ·involved with that related to selling accounts in which
 12· ·HASelect held a security interest to Tecumseh or to any
 13· ·entity associated with Tecumseh?
 14· · · · A· · No.
 15· · · · Q· · Let's look at another document.· This is
 16· ·Exhibit 16 from the Dropbox folder.· This is a Purchase
 17· ·and Sale Agreement dated November 14th, 2019 between
 18· ·Infinity and HealthPlus.· Do you recognize this document?
 19· · · · A· · Yes.
 20· · · · Q· · Do you recall Infinity entering into this
 21· ·document at or around that time?
 22· · · · A· · Yes.
 23· · · · Q· · What is your understanding of, you know, the
 24· ·property being purchased -- or to be purchased by
 25· ·Infinity pursuant to this agreement?


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 ·1· · · · A· · These were mostly imaging -- MRIs and maybe
 ·2· ·X ray -- receivables that HealthPlus wanted to sell.
 ·3· · · · Q· · Did you negotiate this transaction?
 ·4· · · · A· · That was, you know, mostly Anne.· I was
 ·5· ·involved in helping with the numbers and the due
 ·6· ·diligence that came with it.· So it was a team effort.
 ·7· · · · Q· · What kind of due diligence was done with
 ·8· ·respect to the receivables to be purchased under this
 ·9· ·agreement?
 10· · · · A· · Well, they need to meet certain criteria;
 11· ·right?· We needed the Invoice amount.· We needed the
 12· ·medical reports, records, liens.· You know, we needed to
 13· ·verify that the receivables are still open and valid and
 14· ·not collected, yeah, a whole bunch of information to go
 15· ·through and look at.
 16· · · · Q· · Who performed that due diligence?
 17· · · · A· · Oh, we had a whole team of people.· It was
 18· ·like -- I don't know -- three, four people at least that
 19· ·were constantly working on that.
 20· · · · Q· · Were all of those individuals employed by
 21· ·Infinity?
 22· · · · A· · Yes.
 23· · · · Q· · I've seen some emails from this time frame
 24· ·between you and an individual at FTM named I think Endre.
 25· · · · A· · Okay.


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 ·1· ·information necessary to do that accounting as of
 ·2· ·September 14th of 2021?
 ·3· · · · A· · Yes.
 ·4· · · · Q· · So even if you couldn't personally do it,
 ·5· ·somebody at Infinity or an accountant on behalf of
 ·6· ·Infinity could have used the books and records that it
 ·7· ·had in its possession at that time and arrived at that
 ·8· ·number?
 ·9· · · · A· · Yeah.· I think Infinity probably was the best
 10· ·to determine that number for that particular amount, but
 11· ·I don't think anybody did it.
 12· · · · Q· · Let's look at another document.· This document
 13· ·is in the Dropbox as Exhibit 18.· It's a series of emails
 14· ·that were exchanged between you and Endre at FTM.· This
 15· ·was around the inception of the dividing relationship
 16· ·between Infinity and HASelect.· It's referencing, you
 17· ·know, placing stamps on certain documents.· Can you tell
 18· ·me what that relates to?
 19· · · · A· · Yes.· It was agreed on putting electronic
 20· ·stamps, using mostly Adobe Acrobat stamping features, on
 21· ·the liens that were related to the receivables that
 22· ·Infinity purchased and that was a collateral of the
 23· ·HedgeACT loans.· So this way, on the collection, it would
 24· ·be immediately visible that those liens were funded -- or
 25· ·the receivables under those liens were funded -- by


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 ·1· ·HedgeACT.
 ·2· · · · Q· · Were the documents that were stamped, or were
 ·3· ·contemplated being stamped, documents that would have
 ·4· ·been retained by Infinity or are they documents that
 ·5· ·would have been shared with third parties?
 ·6· · · · A· · Well, those documents were all retained by
 ·7· ·Infinity in the database; right?· It was -- usually it
 ·8· ·did not really need to share any documents with attorneys
 ·9· ·that had outstanding liens.· They would know, "Okay, we
 10· ·have this with Infinity."· They would contact Infinity
 11· ·and say, "What is the outstanding amount," and there
 12· ·would be effectively a simple communication.· Now that we
 13· ·had all the supporting documents and they needed that
 14· ·maybe for the court dockets, we could provide those to
 15· ·them when they needed to go to court so they could
 16· ·prewrite the package, but on a lot of cases they didn't
 17· ·require any documents.
 18· · · · Q· · And it looks, based on the top email here, that
 19· ·there was an agreement that electronic stamps could be
 20· ·used.· Is that correct?
 21· · · · A· · Yes.· We kind of discussed that for a while if
 22· ·we do that with an ink stamp or electronic, and it was
 23· ·decided to go with an electronic stamp that Infinity
 24· ·designed.· We sent that to everybody and HedgeACT, and
 25· ·they looked at it and approved that; and moving forward,


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 ·1· ·the liens that were related to funded receivables were
 ·2· ·kind of stamped with that.
 ·3· · · · Q· · And as I understand it, that stamp was
 ·4· ·primarily intended as a sort of an internal control to
 ·5· ·let Infinity employees know where payment needed to be
 ·6· ·directed when it came in.· Is that correct?
 ·7· · · · A· · Yeah, it was a control, but it -- you know, in
 ·8· ·the end, when a check came in, we used the database to
 ·9· ·effectively do all the calculations and nobody looked at
 10· ·the liens at that point; right?· Like I said, the
 11· ·liens -- that would be only necessary if you would kind
 12· ·of want to now take all documents and you want to find,
 13· ·okay, which page has a lien and a stamp and put that on
 14· ·piles; right?· That's kind of -- from the work flow, it
 15· ·didn't really make a difference.
 16· · · · Q· · Let me put up another document here.· It's
 17· ·Exhibit 25 from the Dropbox.· It's another series of
 18· ·emails between you and Endre, it appears.· These are from
 19· ·June of 2020, and these seem to reference removing stamps
 20· ·from documents.· Do you see these emails?
 21· · · · A· · Yeah.
 22· · · · Q· · Do these emails relate to the same stamps that
 23· ·were referenced in the prior email we looked at?
 24· · · · A· · Yeah.· That was -- that was from the time when
 25· ·we had the transition, because they would only actually


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 ·1· ·get stamped when the funding was used from HASelect to
 ·2· ·purchase those related receivables.· By June 2020 we had
 ·3· ·a whole bunch of receivables that Infinity was holding
 ·4· ·that was not related to any loans from HASelect and that
 ·5· ·those were effectively -- had stamps on them because
 ·6· ·people who processed it in Infinity put those on
 ·7· ·automatically, but it was not part of any of the draws or
 ·8· ·collateral to any of those draws, and therefore we were
 ·9· ·discussing removing those stamps again.
 10· · · · Q· · And when you say it's not collateral, did you
 11· ·understand at that time in June of 2020 that HASelect
 12· ·held a security interest in all of the accounts
 13· ·receivable owned by Infinity regardless whether they were
 14· ·tied to any particular draw or not?
 15· · · · A· · Well, we kind of -- I was under the impression
 16· ·not -- we kind of got some advice from a couple of
 17· ·attorneys and they thought that should not be an issue.
 18· ·But I'm not an attorney.· I can only kind of take advice,
 19· ·and I knew about the blanket UCC and the current
 20· ·situation and that HedgeACT was not providing any funding
 21· ·for loans on receivables.· So that's why we decided to
 22· ·have Tecumseh purchase those.
 23· · · · Q· · So these are receivables that were already held
 24· ·by Infinity that you believed had been somehow released
 25· ·from HASelect's security interest that were then sold to


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 ·1· ·Tecumseh?· Do I have that right?
 ·2· · · · A· · That was at the time the process, yeah, in June
 ·3· ·of 2020.
 ·4· · · · Q· · Okay.· And I mean would it be reflected
 ·5· ·anywhere in Infinity's books and records which particular
 ·6· ·accounts were sold to Tecumseh at that time?
 ·7· · · · A· · It should be.· Should be in the accounting
 ·8· ·software and in the database.
 ·9· · · · Q· · And it may have not been clear earlier, but I
 10· ·believe I asked you if any accounts in which HASelect
 11· ·held a security interest were sold to any other party,
 12· ·and I thought you had told me no.· So just --
 13· · · · A· · Under the blanket UCC.
 14· · · · Q· · Yes, under the blanket UCC.
 15· · · · A· · Yeah.· In that case the Tecumseh receivables
 16· ·were the only ones that fall in that category.
 17· · · · Q· · Do you have any recollection of the approximate
 18· ·amount that Infinity received from the sale of those
 19· ·receivables?
 20· · · · A· · It was the 20 percent fee on top of the cost
 21· ·that -- effectively the amount paid to the medical
 22· ·providers.
 23· · · · Q· · Was there any overhead or brokerage fee built
 24· ·into that?
 25· · · · A· · Yeah.· The 20 percent included all that.


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Oliver Hemmers                                          In re: Infinity Capital Management, Inc.

                                                       Page 113
 ·1· · · · Q· · Where did Infinity get the money to purchase
 ·2· ·those accounts before they were sold to Tecumseh?
 ·3· · · · A· · They were paid from -- paid from the overhead
 ·4· ·account, to the best of my knowledge.
 ·5· · · · Q· · The overhead account, is that the Nevada State
 ·6· ·Bank account that we've been talking about, the one that
 ·7· ·has the 6375?
 ·8· · · · A· · Yeah.· And you have to look at it more like as
 ·9· ·a process.· At the time Infinity received receivables to
 10· ·review and fund on a daily basis, maybe 20 receivables
 11· ·let's say, and Infinity was always paying for those in
 12· ·advance.· At the end of the month we would then receive
 13· ·the loan on the next draw from HASelect.· So Infinity
 14· ·was always prepaying all the receivables, then HASelect
 15· ·gave us the loan from that month's draw at the end of the
 16· ·month, and after that we kind of started to do the next
 17· ·month.· We did that for 22 months and HASelect issued a
 18· ·Notice of Default and stopped funding us in May of 2020.
 19· · · · · · ·So now we're sitting on a bunch of receivables
 20· ·that we would not get any more loans from or the next
 21· ·draw from HASelect, and according to the agreement, they
 22· ·had the first right of refusal and we could get other
 23· ·funding if we choose to when they refuse.· That's how I
 24· ·understood that loan agreement and it was confirmed by
 25· ·our attorneys.· And so we didn't see anything wrong in


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                                                                                Page 114
 ·1· ·proceeding and taking the money and selling it
 ·2· ·effectively off to Tecumseh.
 ·3· · · · Q· · These were receivables that were already owned
 ·4· ·by Infinity, not new receivables being purchased with
 ·5· ·Tecumseh's money; correct?
 ·6· · · · A· · Yes.
 ·7· · · · Q· · And you understood that HAS was not going to
 ·8· ·release another draw and advance additional funding based
 ·9· ·on receivables that Infinity already owned; correct?
 10· · · · A· · Usually they gave us every month at the end of
 11· ·the month forward.· We owned money; right?· That was kind
 12· ·of the process.· Now instead of money, we received a
 13· ·Notice of Default that effectively would stop funding for
 14· ·May, and so we could not -- you know, we tried to resolve
 15· ·that and in June Tecumseh offered to buy receivables from
 16· ·us.
 17· · · · Q· · By that point you had been discussing a
 18· ·relationship with Tecumseh for several months already;
 19· ·correct?
 20· · · · A· · We discussed a new structure, yeah, since -- I
 21· ·don't know -- February or March; right?· They kind of --
 22· ·it always takes a while to build up new relationships and
 23· ·see if anything would work, but we did not sign anything
 24· ·with them beyond discussing things with them until almost
 25· ·a month after we received the Notice of Default from


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                                                       Page 119
 ·1· ·think it's going to be more than 20 or 30 minutes.
 ·2· · · · · · ·(Recess taken from 1:56 p.m. to 2:20 p.m.)
 ·3· ·BY MR. LARSEN:
 ·4· · · · Q· · Back on the topic of these accounts sold to
 ·5· ·Tecumseh, you had said before that when collections came
 ·6· ·in that related solely to those accounts, they were
 ·7· ·deposited in a Tecumseh bank account.· Is that correct?
 ·8· · · · A· · Yeah, when it's Tecumseh collections, yes.
 ·9· · · · Q· · Where was that bank account held?
 10· · · · A· · It was held at Bank of America.
 11· · · · Q· · Is that account still being used for Tecumseh
 12· ·collections?
 13· · · · A· · To my knowledge, nobody is collecting on their
 14· ·behalf.
 15· · · · Q· · Let me ask that in a better way.
 16· · · · · · ·Was that account still being used for Tecumseh
 17· ·collections as of September 14th of 2021?
 18· · · · A· · Not to my knowledge.
 19· · · · Q· · Did a different account at a different bank
 20· ·subsequently take the place of that Bank of America
 21· ·account?
 22· · · · A· · Not that I know.
 23· · · · Q· · Was Infinity an authorized signer on that
 24· ·Tecumseh account at Bank of America?
 25· · · · A· · Yeah, one officer was.· That was Anne.· She was


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Oliver Hemmers                                          In re: Infinity Capital Management, Inc.

                                                                                Page 162
 ·1· · · · · · · · · · REPORTER'S CERTIFICATE

 ·2

 ·3· · · · · · ·I, Ellen A. Goldstein, a duly certified court
 · · ·reporter in and for the County of Clark, State of Nevada,
 ·4· ·do hereby certify:

 ·5· · · · · · ·That I reported the taking of the Rule 2004
 · · ·examination of OLIVER HEMMERS at the time and place
 ·6· ·aforesaid;

 ·7· · · · · · ·That prior to being examined, the witness was
 · · ·by me duly sworn to testify to the truth, the whole truth
 ·8· ·and nothing but the truth;

 ·9· · · · · · ·That the witness did not request, nor was it
 · · ·requested on his behalf, to read and sign the transcript
 10· ·herewith;

 11·   · · · · · ·That I thereafter transcribed my shorthand
 · ·   ·notes into typewriting and that the typed transcript of
 12·   ·said Rule 2004 examination is a complete, true and
 · ·   ·accurate transcription of my shorthand notes taken down
 13·   ·at the proceedings.

 14·   · · · · · ·I further certify that I am not a relative or
 · ·   ·employee of an attorney or counsel of any of the parties,
 15·   ·nor a relative or employee of any attorney or counsel
 · ·   ·involved in said action, nor a person financially
 16·   ·interested in the action.

 17· · · · · · ·IN WITNESS THEREOF, I have hereunto set my hand
 · · ·in the County of Clark, State of Nevada, this 20th day of
 18· ·November 2021.

 19

 20· · · · · · · · · · · · · · ·_______________________________
 · · · · · · · · · · · · · · · ·Ellen A. Goldstein, CCR No. 829
 21

 22

 23

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To:        'Dr. Oliver Hemmers'[oliver@infinitycapital.com]; 'Pantelas Anne'[anne@infinitycapital.com]
Cc:                    Case 21-01167-abl Doc 57-3
           'Compliance'[compliance@alternativeis.co];   'BrendaEntered    03/22/22 15:27:00 Page
                                                                Dalzell'[dalzellbb@vanuatu.com.vu]       20 of 24
From:      endre@ftm-investments.com[endre@ftm-investments.com]
Sent:      Tue 2/26/2019 10:16:10 AM (UTC-08:00)
Subject:   RE: A few questions




                                                                         Hemmers
                                                                         11/10/21
                                                                   Exhibit 18                  CONFIDENTIAL INFINITY004704
                                                                    Oasis Reporting Services
Cc:        &KDG0H\HU>FPH\HU#WHFXPVHKDOWVFRP@0LNH%HORW]>PEHORW]#WHFXPVHKDOWVFRP@
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       'U2OLYHU+HPPHUV
       3OHDVHH[FXVHW\SRVVHQWIURPP\SKRQH


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Subject:




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                                                                      Exhibit 25
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